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                                             #:104015



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                   9                           UNITED STATES DISTRICT COURT
                  10                       CENTRAL DISTRICT OF CALIFORNIA
                  11                                EASTERN DIVISION
                  12 CARTER BRYANT, an individual,         CASE NO. CV 04-9049 SGL (RNBx)
                  13              Plaintiff,               Consolidated with
                                                           Case No. CV 04-09059
                  14        vs.                            Case No. CV 05-02727
                  15 MATTEL, INC., a Delaware              DECLARATION OF CYRUS S. NAIM
                     corporation,                          IN SUPPORT OF MATTEL'S EX
                  16                                       PARTE APPLICATION FOR ORDER
                                  Defendant.               COMPELLING COMPLIANCE OF
                  17                                       LARRY MCFARLAND, MITCHELL
                                                           KAMARCK AND DAPHNE GRONICH
                  18 AND CONSOLIDATED ACTIONS              WITH TRIAL SUBPOENAE
                  19
                                                           Hearing Date:      July 24, 2008
                  20                                       Time:              3:00 p.m.
                                                           Place:             Courtroom 1
                  21
                                                           Phase 1:
                  22                                       Trial Date:            May 27, 2008
                  23
                  24
                  25
                  26
                  27
                  28
07209/2582009.1
                                                         NAIM DEC ISO EX PARTE TO ENFORCE TRIAL SUBPOENAE
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                   1               I, Cyrus S. Naim, declare as follows:
                   2               1.    I am a member of the bar of the State of California and an
                   3 associate with Quinn Emanuel Urquhart Oliver & Hedges, LLP, attorneys for
                   4 plaintiff and counter-defendant, Mattel, Inc. (“Mattel”). Except where otherwise
                   5 noted, I make this declaration of personal, firsthand knowledge and, if called and
                   6 sworn as a witness, I could and would testify competently thereto.
                   7               2.    Attached as Exhibit 1 hereto is a true and correct copy of a trial
                   8 subpoena served upon Larry McFarland on July 16, 2008.
                   9               3.    Attached as Exhibit 2 hereto is a true and correct copy of a trial
                  10 subpoena served upon Daphne Gronich on May 2, 2008.
                  11               4.    Attached as Exhibit 3 hereto is a true and correct copy of the
                  12 trial subpoena served upon Mitchell Kamarck on April 30, 2008.
                  13               5.    Attached as Exhibit 4 hereto is a true and correct copy of an
                  14 email chain ending with an email from Larry McFarland to James Webster, dated
                  15 July 23, 2008, at 9:13 a.m.
                  16               6.    Attached as Exhibit 5 hereto is a true and correct copy of an
                  17 email chain ending with an email from Larry McFarland to James Webster, dated
                  18 July 23, 2008, at 6:40 p.m.
                  19               7.    Attached as Exhibit 6 hereto is a true and correct copy of an
                  20 email chain ending with an email from Lauren Aguiar to Michael Zeller and John
                  21 Quinn, dated July 23, 2008, at 8:38 p.m.
                  22               8.    Attached as Exhibit 7 hereto is a true and correct copy of an
                  23 email chain ending with an email from John Quinn to Lauren Aguiar, Michael
                  24 Zeller, and Jon Corey, dated July 21, 2008, at 5:05 p.m.
                  25               9.    Attached as Exhibit 8 hereto is a true and correct copy of an
                  26 email chain ending with an email from Lauren Aguiar to Michael Zeller, dated July
                  27 21, 2008, at 10:06 p.m. I have been informed that Ms. Gronich attended the
                  28 deposition only as an observer.
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                                                           NAIM DEC ISO EX PARTE TO ENFORCE TRIAL SUBPOENAE
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  1                10.   Attached as Exhibit 9 hereto is a true and correct copy of the
  2 [Amended] List of Witnesses Mattel Intends to Call in Its Case-in-Chief in Phase
  3 1B, dated July 18, 2008.
  4                11.   Attached as Exhibit 10 hereto is a true and correct copy of the
  5 Minute Order dated February 25, 2008.
  6                12.   Attached as Exhibit 11 hereto is a true and correct copy of
  7 excerpts of the transcript of trial dated July 18, 2008.
  8                13.   Attached as Exhibit 12 hereto is a true and correct copy of
  9 excerpts of the transcript of trial dated July 23, 2008.
 10                14.   Attached as Exhibit 13 hereto is a true and correct copy of an
 11 email from Michael Zeller to Carl Roth, dated July 20, 2008.
 12
                   I declare under penalty of perjury under the laws of the United States of
 13
      America that the foregoing is true and correct.
 14
                   Executed this 24th day of July, 2008, at Los Angeles, California.
 15
 16
                                                /s/ Cyrus S. Naim
 17                                             Cyrus S. Naim
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                                             NAIM DEC ISO MOTION TO ENFORCE TRIAL SUBPOENAS
